Case 19-55810-bem        Doc 104    Filed 10/11/19 Entered 10/11/19 16:49:20          Desc Main
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   IT IS ORDERED as set forth below:



    Date: October 11, 2019
                                                    _________________________________

                                                             Barbara Ellis-Monro
                                                        U.S. Bankruptcy Court Judge


  ________________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:

 Greenmine, Inc.,                                        CASE NO. 19-55810-BEM

          Debtor.                                        CHAPTER 7

 Nexus Fuels, LLC,

          Movant,

 v.                                                      Contested Matter
 Greenmine, Inc.,

          Respondent.

                             ORDER AND NOTICE OF HEARING

                This matter comes before the Court on Movant’s Expedited Motion for Relief

 from Automatic Stay (the “Motion”) [Doc. 102] filed October 11, 2019. It appearing that the

 matter is urgent, the request for an emergency hearing contained in the Motion is granted.

 Accordingly, it is hereby
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               ORDERED and NOTICE IS HEREBY GIVEN that a hearing on the Motion

 [Doc. 102] shall be before the undersigned on October 17, 2019, at 2:30 PM, COURTROOM

 1402, UNITED STATES COURTHOUSE, RICHARD B. RUSSELL FEDERAL BUILDING,

 75 TED TURNER DRIVE (f/k/a SPRING STREET), SW, ATLANTA, GEORGIA; it is further

               ORDERED that Movant is directed to serve this Notice and a copy of the Motion

 by electronic mail, facsimile, or overnight mail on Debtor, the Chapter 7 Trustee, GP Harmon

 Recycling LLC, and Reich Bros. Business Solutions, LLC and to file a certificate of service on

 the docket demonstrating such service.

                                          END OF ORDER




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